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March 27, 2013

Hon. James Orenstein

United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, N.Y. 11201

Re: Stephen LoCurto v. United States
10-CV-4589 (NGG)(JO)

Dear Judge Orenstein:

Please accept this letter as responsive the Court’s Order dated March 19, 2013 with respect to the
scheduling of an evidentiary hearing in the above captioned matter.

Following consultation with Assistant United States Attorney Taryn Merk] and the potential
witnesses the parties might call it is proposed that the court schedule the evidentiary hearing to conducted
on any date convenient to the Court from July 15, 2013 to any date subsequent thereto.

This would accommodate the trial and vacation schedules of counsel and prospective witnesses.
It would further facilitate the production of petitioner sufficiently in advance of the hearing so as to allow
counsel to meet and confer with Mr. Locurto prior to such hearing.

Following discussion, the parties have not identified any evidentiary issues that would
require resolution by the court before the hearing commences.

It is requested that the Court Order the government to produce Petitioner and request that he be
held at the MDC, MCC or Queens Private Detention Facility at least one month prior to hearing date to
facilitate counsel’s meeting with Mr. Locurto.

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_Re€spectfully

Alan Nelson

mitted,

ce: AUSA Taryn Merk! (ECF)
Stephen Locurto (U.S. Mail)
